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1             LAW OFFICES OF
           CHRISTOPHER H. WING
2    2701 DEL PASO ROAD, SUITE 130 #45
       SACRAMENTO, CA 95835
3                 State Bar #063214


4
     ATTORNEYS FOR:             Defendant
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6

7                                        IN THE UNITED STATES DISTRICT COURT
8                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA                          No.       2:10-cr-00427 KJM
11                                         Plaintiff,
                                                        ORDER EXONERATING BAIL AND
12           v.                                         RECONVEYANCE OF DEED OF
                                                        TRUST
13    Cuong Cach
14                                    Defendant,
15

16

17            The Defendant, CUONG CACH, having been sentenced to time served and placed
18   on probation on August 15, 2013, and good cause appearing:
19            IT IS ORDERED THAT:
20            The Deed of Trust, previously posted as security in the matter is hereby exonerated
21   and the Clerk of the Court or a designee is directed forthwith to exonerate the bail posed in
22   this matter; i.e., a Deed of Trust, filed on November 9, 2010, Docket Number 54, on real
23   property located at 8556 German Drive, Sacramento California 95828 and to prepare and
24   cause to be filed a Deed of Reconveyance as necessary to fully exonerate the bail.
25            Dated: August 27, 2013.
26

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28                                                            UNITED STATES DISTRICT JUDGE


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